

Allington v Templeton Found. (2021 NY Slip Op 07467)





Allington v Templeton Found.


2021 NY Slip Op 07467


Decided on December 23, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 23, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., SMITH, NEMOYER, AND CURRAN, JJ.


1158CA 21-00582

[*1]JEFFREY E. ALLINGTON AND STACIE MILLER, PLAINTIFFS,
vTEMPLETON FOUNDATION, CARE OF THE MARY IMOGENE BASSETT HOSPITAL, DOING BUSINESS AS BASSETT MEDICAL CENTER, AND PULVER ROOFING CO., INC., DEFENDANTS.
TEMPLETON FOUNDATION, CARE OF THE MARY IMOGENE BASSETT HOSPITAL, DOING BUSINESS AS BASSETT MEDICAL CENTER, THIRD-PARTY PLAINTIFF,PULVER ROOFING CO., INC., THIRD-PARTY DEFENDANT.
TEMPLETON FOUNDATION, CARE OF THE MARY IMOGENE BASSETT HOSPITAL, DOING BUSINESS AS BASSETT MEDICAL CENTER, THIRD-PARTY PLAINTIFF-APPELLANT,vWELLIVER MCGUIRE, INC., DOING BUSINESS AS WELLIVER, THIRD-PARTY DEFENDANT-RESPONDENT. (APPEAL NO. 2.) 






BARCLAY DAMON LLP, ROCHESTER (JOSEPH A. WILSON OF COUNSEL), FOR THIRD-PARTY PLAINTIFF-APPELLANT. 
VAHEY LAW OFFICES, ROCHESTER (JARED K. COOK OF COUNSEL), FOR THIRD-PARTY DEFENDANT-RESPONDENT. 


	Appeal from an order of the Supreme Court, Steuben County (Kevin Nasca, J.), entered September 11, 2020. The order denied the motion of third-party plaintiff for summary judgment as against third-party defendant Welliver McGuire, Inc., doing business as Welliver. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs (see GEICO Indem. v Roth, 56 AD3d 1244, 1244 [4th Dept 2008]).
Entered: December 23, 2021
Ann Dillon Flynn
Clerk of the Court








